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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                                            Case No.:

  TARA WOOD,                                COMPLAINT AND DEMAND FOR
                                            JURY TRIAL
             Plaintiff,
                                                 1. TCPA, 47 U.S.C. § 227,
        v.
                                                 2. FCCPA § 559.72

  CAPITAL ONE BANK (USA), N.A.,                  3. Invasion of Privacy - Intrusion
                                                    Upon Seclusion
             Defendant.


                            COMPLAINT FOR DAMAGES

        Plaintiff, Tara Wood (“Plaintiff”), through her attorneys, alleges the following

  against Capital One Bank (USA), N.A., (“Defendant”):

                                 INTRODUCTION

     1. Count I of Plaintiff’s Complaint is based upon the Telephone Consumer

        Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that

        broadly regulates the use of automated telephone equipment. Among other

        things, the TCPA prohibits certain unsolicited marketing calls, restricts the

        use of automatic dialers or prerecorded messages, and delegates rulemaking

        authority to the Federal Communications Commission (“FCC”).

     2. Count II is based upon the Florida Consumer Collection Practices Act,

        FCCPA § 559.72. The FCCPA prohibits communication with the debtor or



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       the debtor’s family with such frequency that it can be seen as harassing.

    3. Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy -

       Intrusion upon Seclusion, as derived from § 652B of the Restatement

       (Second) of Torts. § 652B prohibits an intentional intrusion, “physically or

       otherwise, upon the solitude or seclusion of another or his private affairs or

       concerns… that would be highly offensive to a reasonable person.”

                          JURISDICTION AND VENUE

    4. Subject matter jurisdiction of the Court arises under 47 U.S.C. § 227 et seq.

        and 28 U.S.C. § 1331.

    5. Venue is proper pursuant to 28 U.S.C. 1391(b)(1) in that a substantial part of

        the events or omissions giving rise to the claim occurred in this District.

    6. Defendant transacts business here; personal jurisdiction is established.

                                        PARTIES

    7. Plaintiff is a natural person residing in the County of Polk, State of Florida.

    8. Defendant is a creditor engaged in the business of giving consumer loans with

       its principal place of business located in McLean, Virginia. Defendant can be

       served with process at 1680 Capital One Drive, McLean, VA 22102.

    9. Defendants acted through their agents, employees, officers, members,

       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

       representatives, and insurers.




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                           FACTUAL ALLEGATIONS

    10. Defendant is attempting to collect a consumer debt from Plaintiff.

    11. In or around March of 2018, Defendant began placing calls to Plaintiff on her

        cellular phone number ending in 0462, in an attempt to collect an alleged

        debt.

    12. The calls placed by Defendant originated from (800) 955-6600.

    13. On or about March 27, 2018, at 5:36 p.m., Plaintiff answered a call from

        Defendant; Plaintiff heard a pause before the collection agent, “Georgia,”

        began to speak, indicating the use of an automated telephone dialing system;

        Plaintiff spoke with Defendant’s representative from telephone number (800)

        955-6600.

    14. Defendant informed Plaintiff that it was attempting to collect a debt relating

        to her Capital One account.

    15. Plaintiff unequivocally revoked consent to be called any further. Despite

        Plaintiff’s request not to be contacted, Defendant continued to call Plaintiff.

    16. On or about April 16, 2018, at 3:43 p.m., Plaintiff answered another call from

        Defendant; Plaintiff, for the second time, unequivocally revoked consent to

        be called any further. Despite Plaintiff’s second request to not be contacted,

        Defendant continued to call Plaintiff.

    17. Defendant’s incessant calls continued nearly every day until July 13, 2018.




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    18. Between March 27, 2018 and July 13, 2018, Defendant called Plaintiff no

        less than one-hundred and eight (108) times.

    19. Upon information and belief, Plaintiff received calls from Defendant while

        traveling throughout the State of Florida, specifically, Plaintiff was called on

        July 7, 2018 and July 8, 2018 while in Palm Beach County.

    20. Defendant called Plaintiff between one (1) and two (2) times a day.

    21. Many times, when Plaintiff answered calls from Defendant, there was a pre-

        recorded message or no person on the phone.

    22. The Federal Communications Commission (“FCC”) noted in its 2003 TCPA

        Order that a predictive dialer is “equipment that dials numbers and, when

        certain computer software is attached, also assists telemarketers in predicting

        when a sales agent will be available to take calls. The hardware, when paired

        with certain software, has the capacity to store or produce numbers and dial

        those numbers at random, in sequential order, or from a database of

        numbers.” 2003 TCPA Order, 18 FCC Rcd at 14091, para. 131.

    23. The FCC further explained that the “principal feature of predictive dialing

        software is a timing function, not number storage or generation.” Id.

    24. Finally, the FCC stated that “a predictive dialer falls within the meaning and

        statutory definition of ‘automatic telephone dialing equipment’ and the intent

        of Congress.” Id. at 14091-92, paras. 132-33.




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    25. Defendant consistently called Plaintiff around the same time every day,

        indicating the use of a predictive dialer.

    26. For example, Defendant called Plaintiff at 5:36 p.m. (March 27, 2018), 5:01

        p.m. (April 14, 2018), 5:29 p.m. (April 23, 2018), 5:34 p.m. (May 6, 2018);

        5:45 p.m. (May 9, 2018); and 5:24 p.m. (May 17, 2018).

    27. Plaintiff is a felony probation officer for the State of Florida and an

        overwhelming amount of calls were placed while she was at work, which

        were a constant disruption resulting in additional stress to an already stressful

        job.

     28.Defendant’s calls not only induced stress, but also anxiety due to the daily

        incessant calls to her cellular phone.

    29. As a result of Defendant’s conduct, Plaintiff sustained actual damages

        including but not limited to, emotional and mental pain and anguish.

                                   COUNT I
               Defendant’s Violations of the TCPA, 47 U.S.C. § 227

    30. Plaintiff incorporates by reference paragraphs one (1) through twenty-nine

        (29) of this Complaint as though fully stated herein.

    31. Defendant violated the TCPA. Defendant’s violations include, but are not

        limited to the following:

          a) Within four years prior to the filing of this action, on multiple

               occasions, Defendants violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii)



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                 which states in pertinent part, “It shall be unlawful for any person

                 within the United States . . . to make any call (other than a call made

                 for emergency purposes or made with the prior express consent of the

                 called party) using any automatic telephone dialing system or an

                 artificial or prerecorded voice — to any telephone number assigned to

                 a . . . cellular telephone service . . . or any service for which the called

                 party is charged for the call; and

             b) Within four years prior to the filing of this action, on multiple

                 occasions, Defendants willfully and/or knowingly contacted Plaintiff at

                 Plaintiff’s cellular telephone using an artificial prerecorded voice or an

                 automatic telephone dialing system and as such, Defendant knowing

                 and/or willfully violated the TCPA.

       32. As a result of Defendants’ violations of 47 U.S.C. § 227, Plaintiff is entitled

           to an award of five hundred dollars ($500.00) in statutory damages, for each

           and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds

           that Defendant knowingly and/or willfully violated the TCPA, Plaintiff is

           entitled to an award of one thousand five hundred dollars ($1,500.00), for

           each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

           § 227(b)(3)(C).

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                                  COUNT II
                      VIOLATIONS OF THE FCCPA §559.72 et seq.

       33. Plaintiff re-alleges and incorporates by reference paragraphs one (1) through

           twenty-nine (29) as though set forth at length herein.

       34. Defendant violated the FCCPA. Defendant’s violations include, but are not

           limited to, the following:

             a. Defendant violated FLA. STAT. § 559.72 (7), which states in part that

                it is a violation to “[w]illfully communicate with the debtor … with

                such frequency as can reasonably be expected to harass the debtor …

                or willfully engage in other conduct which can reasonably be expected

                to abuse or harass the debtor …;” and

             b. Defendant called Plaintiff no less than one-hundred and eight (108)

                times in just over three and a half months and almost every single day

                in a willful manner; Defendant was aware of Plaintiff’s financial

                situation, her demands and pleas not to be called any further and had no

                other reason to contact Plaintiff other than to harass her.

       35. As a result of the foregoing violations of the FCCPA, Defendant is liable to

           Plaintiff for actual damages, statutory damages, punitive damages, and

           attorneys’ fees and costs.

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                                      COUNT III
                             Defendant’s Invasion of Privacy
                               (Intrusion upon Seclusion)

       36. Plaintiff incorporates herein by reference paragraphs one (1) through twenty-

           nine (29) of this complaint as though fully set forth herein at length.

       37. Defendant violated Plaintiff’s privacy. Defendant’s violations include, but

           are not limited to, the following:

             a. Defendant intentionally intruded, physically or otherwise, upon

                Plaintiff’s solitude and seclusion by engaging in harassing phone calls

                in an attempt to collect on an alleged debt despite numerous requests

                for the calls to cease;

             b. Defendants conduct would be highly offensive to a reasonable person

                as Plaintiff received calls that interrupted Plaintiff’s work and sleep

                schedule; and

             c. Defendant’s acts, as described above, were done intentionally with the

                purpose of coercing Plaintiff to pay the alleged debt.

       38. As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is

           liable to Plaintiff for actual damages. If the Court finds that the conduct is

           found to be egregious, Plaintiff may recover punitive damages.

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                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, Tara Wood, respectfully requests judgment be

  entered against Defendant for the following:

            A. Declaratory judgment that Defendant violated the TCPA and FCCPA;

            B. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

               § 227(b)(3)(C);

            C. Actual and punitive damages resulting from the invasion of privacy;

            D. Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            E. Awarding Plaintiff her reasonably attorneys’ fees and costs pursuant to

               the FCCPA; and

            F. Any other relief that this Honorable Court deems appropriate.

                            DEMAND FOR JURY TRIAL

  Please take notice that Plaintiff demands a trial by jury in this action.

        Respectfully submitted this 24th day of September 2018.

                                                  SWIFT & ISRINGHAUS, P.A.
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